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COUNSEL TO THE DEBTORS AND
DEBTORS IN POSSESSION

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                       §
In re:                                                 §      Chapter 11
                                                       §
Senior Care Centers, LLC, et al.,1                     §      Case No. 18-33967 (BJH)
                                                       §
                          Debtors.                     §      (Jointly Administered)
                                                       §

                                  AMENDED NOTICE OF HEARING

        PLEASE TAKE NOTICE that, on October 30, 2019, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the following pleadings with the United
States Bankruptcy Court for the Northern District of Texas (the “Bankruptcy Court”):

         1.      Motion of Debtors for Entry of an Order Authorizing the Debtors to Terminate
                 Corporate-Owned Life Insurance Policies and Claim the Cash Surrender Value in
                 Connection Therewith and Offer Certain Employees the Option to Purchase the
                 Debtors’ Interest in Those Life Insurance Policies In Lieu of Termination [Docket
                 No. 2129] (the “Motion”).

         2.      Notice of Hearing [Docket No. 2130] (the “Notice of Hearing”).

       PLEASE TAKE FURTHER NOTICE that the Notice of Hearing originally scheduled
the hearing on the Motion for November 22, 2019 at 9:30 a.m. (CT) before the Honorable Stacy
G. C. Jernigan at the United States Bankruptcy Court for the Northern District of Texas, Earle


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   The Debtors in the Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases, and (II) Granting Related
Relief [Docket No. 569] and may also be found on the Debtors’ claims agent’s website at
https://omnimgt.com/SeniorCareCenters. The location of the Debtors’ service address is 600 North Pearl Street,
Suite 1100, Dallas, Texas 75201.


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Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, Texas
75242.

       PLEASE TAKE FURTHER NOTICE that this Amended Notice of Hearing amends
and supersedes the previously filed Notice of Hearing and hereby schedules the hearing on the
Motion for December 3, 2019 at 2:00 p.m. (CT) before the Honorable Stacy G. C. Jernigan at
the United States Bankruptcy Court for the Northern District of Texas, Earle Cabell Federal
Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, Texas 75242.

     IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF THE PLEADING.
UNLESS OTHERWISE DIRECTED BY THE COURT, YOU FILE YOUR RESPONSE
WITH THE CLERK OF THE BANKRUPTCY COURT WITHIN TWENTY-ONE (21)
DAYS FROM THE DATE YOU WERE SERVED WITH THE PLEADING. YOU MUST
SERVE A COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE
NOTICE; OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
UNOPPOSED AND GRANT THE RELIEF REQUESTED.

        PLEASE TAKE FURTHER NOTICE that all pleadings filed in these chapter 11 cases
are available for free at: https://omnimgt.com/SeniorCareCenters.

Dated: November 1, 2019                          Respectfully submitted,
       Dallas, Texas
                                                 POLSINELLI PC

                                                 /s/     Trey A. Monsour
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                                                 Counsel to the Debtors and Debtors in
                                                 Possession




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